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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 22-MJ-8332-BER


  IN RE SEALED SEARCH WARRANT

  ________________________________/

                        NOTICE OF PARTIES’ POSITION
              ON MOTION TO UNSEAL LIMITED WARRANT MATERIALS

        In accordance with the Court’s order directing the government to confer with counsel

  for former President Trump (Docket Entry 19) and consistent with Local Rule 88.9(a), the

  United States files this notice. Counsel for former President Trump—M. Evan Corcoran,

  Esq., and James Trusty, Esq.—have informed the government that the former President does

  not object to the government’s Motion to Unseal Limited Warrant Materials (Docket Entry

  18), which asked this Court to unseal the documents in Docket Entry 17. Accordingly, the

  United States requests that the Court grant its Motion (Docket Entry 18) and unseal Docket

  Entry 17.
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  Date: August 12, 2022                    Respectfully submitted,

                                           /s Juan Antonio Gonzalez
                                           JUAN ANTONIO GONZALEZ
                                           UNITED STATES ATTORNEY
                                           Florida Bar No. 897388
                                           99 NE 4th Street, 8th Floor
                                           Miami, Fl 33132
                                           Tel: 305-961-9001
                                           Email: juan.antonio.gonzalez@usdoj.gov

                                           /s Jay I. Bratt
                                           JAY I. BRATT
                                           CHIEF
                                           Counterintelligence and Export Control Section
                                           National Security Division
                                           Illinois Bar No. 6187361
                                           950 Pennsylvania Avenue, NW
                                           Washington, D.C. 20530
                                           Tel: 202.233.0986
                                           Email: jay.bratt2@usdoj.gov




                                   Certificate of Service

         I HEREBY CERTIFY that I caused the attached document to be electronically

  transmitted to the Clerk’s Office using the CM/ECF system for filing and transmittal of a

  Notice of Electronic Filing.

                                                  /s Juan Antonio Gonzalez
                                                 Juan Antonio Gonzalez
                                                 United States Attorney
